 

 

Case 4:20-cv-03545 Document 1 Filed on 10/14/20 in TXSD Page 1 of 18
Pro Se 14 (Rev. {2/16) Complaint for Violation of Civil Rights (Prisoner)

UNITED STATES DISTRICT COURT

Duiiod States Bouiis

t of Texas
for the Southern District 9
District of OCT 14 2020
Case No,
Jeremy Jame defy (to be filled in by the Clerk's Office)

Plains) == Y )

(Write the full name of each plaintiff who is filing this complaint. )

Ifthe names ofall the plaintiffs cannot fit in the space above, )
please write “see attached” in the space and attach an additional

page with the full list of names.) )

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Defendan
‘(Write tas fuil name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list ofnames. Do not t include addresses her €.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE
y
Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should vof contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

 
 

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"Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

TL The Parties to This Complaint

i

A. The Plaintiff(s)

Provide the information below for each plaintitf named in the complaint. Attach additional pages if
needed.

Name Sere downer Sosefle
All other names by which
you have been known: nb oF 2. 4 "1482
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Current Institution Hams. Canada. Jou t ee
Address [200 Boner Street * 5 CU: 6N 23 i

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- City: State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name ( fang MK A
Job or Title (if known) g ie | dd. Howry Vicky a.
Shield Number ee Cou

Employer — Hares S re LR Tones. Cal ite)
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Citv State Zip Code
[_] Individual capacity | pote capacity

Defendant No. 2 :
Name Moth flat

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Woodland — TX 2p oo

Citv State Zip Code
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, Case 4:20-cv-03545 Document 1 Filed on 10/14/20 in TXSD Page 3 of 18
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Defendant No. 3

Name Oni. Art Acuucd urdo oo
Job or Title (ifknown) Petit. Oiet SHEP) . ee ne

Shield Number

Employer 4 {." ye
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Address 26 C Ve Ani Sart tfc Ube
Hors fotr te 7Lo 92
City State Zip Code

[_] Individual capacity [official capacity

Defendant No. 4

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Job or Title (if known) Flom. itons / Us Rank Foot Workers
Shield Number

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Address FO fur St, oth ‘Foy.

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City Ix . Ziv Code —
[] Individual capacity x Official capacity
i. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):

[ ] Federal officials (a Bivens claim)

Pr State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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C. Plaintiffs suing under Bivens may Om dh recover for the violatio hot certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officials?
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Section 1983 allows defendants to be found liable only when they have acted “under color of any Vs
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.” du wo

42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color jm ete
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of hs bi

federal law. Attach additional pages if needed.
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Indicate whether you are a prisoner or other confined person as follows (check all that apply):
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LJ Civilly committed detainee dow, andy cm oun vwihéley f +

( Immigration detainee farm bey Whign dis ocim wort M4arrst s mandrel
J Convicted and sentenced state prisoner w/o Sf Whe | Je ad hyd hws £ SI star, adweu—

(| Convicted and sentenced federal prisoner whim MANY Lh ‘BTR Cpe have ad AY
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“ Statement of Cl pewter a Pe tn K LapTR Gant)

State as briefly as possible the face of your case. Describe how eae: defendant was personally involved in the '
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

I. Prisoner Status

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.
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If the events giving rise to your claim arose in an institution, describe where and when they arose.

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C. What date and approximate time did the events giving rise to your claim(s) occur?

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_ September 1 20 | Spt (07. 29, Dos Wulor’ UWumw
D. What are the facts underlying your claim(s)? (For example: What happened to you? Who S4 quae c eon

Was anyone else involved? Who else saw what happened?)

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If you sustained injuries ‘aa to Me events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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V. Injuries

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State briefly tens you want Homie court to at nen. you. Make no legal sea not cite any cases or statutes. hus f !
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed)for T th

the acts alleged. Explain the basis for these claims. yt

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VII. Exhaustion of Administrative Remedies Administrative Procedures
The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]o action shal! be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined

in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

ves
[] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

Harris Canty Suk [ows Cooly Sreuffs off

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance

procedyre?
[-] No
[-] Do not know

C. Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[] Yes
[-] No

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D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

[ Yes

[-] No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

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[-] No

E. If you did file a grievance:

1. Where did you file the grievance?

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L W v iC What steps, if any, did you take to appeal that decision? Is the grievance process completed? If Dis frict 2
(My not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.) nh |

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F. If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here: N i A.

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2. If you did not file a grievance but you did inform officials of your claim, state who you informed,
Maw dig when and how, and their response, if any:

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G. Please set forth any additional information that is relevant to the exhaustion of your administrative
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ote; You may attach as exhibits to this complaint any documents related to the »<haustion of your
administrative remedies.)

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VIL. Previous Lawsuits nach ™M oo - wal ey nf ok tdi wife

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If yes, ( o whith court dismissed your case, when this occurred, and attach py of the order if possible. Ml n Cr,

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A.

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

Yes
(X No

If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (Jf there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

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1. Parties to the previous lawsui
Plaintiff(s)
Defendant(s)

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2. Court (if federal court, name the district; if state court, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

[] Yes
[}No *

If no, give the approximate date of disposition. VME U

Yugrr,

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your

imprisonment? nat appr ‘tr /No -

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[ ] Yes
[] No

Dd. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s) NV JA
Defendant(s) NA

2. Court (if federal court, name the district; if state court, name the county and State)

3. Docket or index number

N jf
4. Name of Judge assigned to your case

NA

5. Approximate date of filing lawsuit

6. Is the case still pending?

L] Yes Nit
[_J] No

If no, give the approximate date of disposition

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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IX. Certification and Closing LIP NOG yt util CO

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Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause v
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a (N
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have KK
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable 6
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the ok
requirements of Rule 11.

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A. For Parties Without an Attorney MA (amet . ap unted attiv {5 .W of

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I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.
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Signature of Plaintiff
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